                           IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

 UNITED STATES OF AMERICA,                         )
                                                   )
                Plaintiff,                         )
                                                   )
         vs.                                       )               Cr. No.: 20-01707 KWR
                                                   )
 THOMAS WABNUM,                                    )
                                                   )
                Defendant.                         )

                                       PROTECTIVE ORDER

       This matter having come before the Court on the United States’ Unopposed Motion for a

Protective Order (Doc. 19) and the Court having considered the matter, finds this motion is well

taken and should be granted.

       IT IS THEREFORE ORDERED that the victim medical records, including the sexual

assault nurse examiner (“SANE”) report and photographs, and the victim phone records, content,

and data (hereafter referred to as “confidential material”) disclosed in this case are subject to the

following restrictions:

       1.      Confidential material received by the defendant (through that defendant’s

attorney) from the United States shall not be shown or otherwise provided or disclosed to

individuals other than:

               a.         Defendant;

               b.         Defendant’s attorney of record;

               c.         employees of such attorney to whom it is reasonably necessary that the

                          material be shown for the purposes of this action;

               d.         witnesses and their counsel and potential witnesses and their counsel; and,
                e.      experts or consultants who are assisting in this action.

Individuals to whom confidential material is shown or otherwise provided must be provided with

a copy of this protective order, and agree to be bound by its terms prior to being shown or

otherwise provided with any material.

        2.      Confidential material received by Defendant shall be used solely for the purposes

of this action. Nothing in this protective order limits the defendant or the United States from

disclosing material in this or related judicial proceedings, including in motions, at hearings, at

trial, or in an appeal. This protective order requires, however, that the party redact any personal

identifying information, the names of the minor children, and other private information in

accordance with Fed. R. Crim. P. 49.1.

        3.      Counsel for defendant and/or anyone properly assisting counsel shall not give any

copies of the victims’ medical records, including the SANE report and photographs, directly to

defendant. The defendant only may review these materials in the presence of counsel and/or

anyone properly assisting counsel.



So Ordered this 24th day of November, 2020.




Submitted by:
Allison C. Jaros, Assistant U.S. Attorney

Approved by:
Meredith M. Baker, Counsel for Defendant
Wayne Baker, Counsel for Defendant
